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                  UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

                        CASE NO.: 6:21-cv-1150

LEUTRIM TOPALLI,

          Plaintiff,

v.

HEALTHCARE REVENUE
RECOVERY GROUP, LLC,

         Defendant.
_____________________________________/

DEFENDANT, HEALTHCARE REVENUE RECOVERY GROUP, LLC’S
       NOTICE OF PENDENCY OF OTHER ACTIONS

      In accordance with Local Rule 1.04(d), I certify that the instant action:

_X_   IS similar or related to pending or closed civil or criminal case(s)

previously filed in this Court, or any other Federal or State court, or

administrative agency as indicated below:

This case was removed from the County Court of the Ninth Judicial
Circuit, in and for Orange County, Florida, Case Number 2021-SC-
029018-O.


_____IS NOT similar or related to pending or closed civil or criminal case(s)

previously filed in this Court, or any other Federal or State court, or

administrative agency. No similar or successive case exists.



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     I further certify that I will serve a copy of this Notice of Pendency of

Other Actions upon each party no later than fourteen days after the

appearance of the party.

     Dated this 19th day of July 2021.

                                    Respectfully submitted,

                                    /s/ Ernest H. Kohlmyer, III
                                    Ernest H. Kohlmyer, III, Esq.,
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                                    Attorneys for Defendant,
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                                    Group, LLC




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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed on July 19, 2021, with the Clerk of the Court by using the electronic filing

system. I further certify that the foregoing has been sent via electronic

transmission     to    the   following:       Jibrael   S.   Hindi,   Esquire   at

jibrael@jibraellaw.com, and Thomas Patti, Esquire at tom@jibraellaw.com

(Attorneys for Plaintiff).

                                              /s/ Ernest H. Kohlmyer, III
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